Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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Case:18-04502-ESL13 Doc#:9 Filed:09/04/18 Entered:09/04/18 14:10:38   Desc: Main
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